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                                 No. 23-12155
    UNITED STATES COURT OF APPEALS FOR THE ELEVENTH
                        CIRCUIT
                                DEKKER ET AL.,
                              Plaintiffs-Appellees,

                                       v.

   SECRETARY, FLORIDA AGENCY FOR HEALTH CARE ADMINISTRATION ET AL.,
                        Defendants-Appellants.

   On Appeal from the U.S. District Court for the Northern District of Florida
                           (Tallahassee Division)
                       No. 4:22-cv-00325-RH-MAF,
                   The Honorable Robert L. Hinkle, Judge

  BRIEF OF AMICI CURIAE STATE OF CALIFORNIA AND 19 OTHER STATES IN
          SUPPORT OF PLAINTIFFS-APPELLEES AND AFFIRMANCE


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                            INTEREST OF AMICI
       Amici Curiae States of California, Colorado, Connecticut, Delaware,

  Hawaii, Illinois, Maine, Maryland, Massachusetts, Michigan, Minnesota,

  Nevada, New Jersey, New York, Oregon, Pennsylvania, Rhode Island,

  Vermont, Washington and the District of Columbia strongly support

  transgender people’s right to live with dignity, be free from discrimination,

  and have equal access to healthcare.1 Amici States have significant

  experience in administering Medicaid programs—which provide payments

  for medical care to patients of limited economic means—for our transgender

  residents. These Medicaid policies cover gender-affirming care, reflect well-

  established medical standards of care, and result in better health outcomes

  for our transgender residents. Amici States submit this brief to underscore

  the importance of gender-affirming care, as well as highlight the significant

  evidence supporting the benefits of access to treatment for transgender

  patients.

       The challenged law and policy in this case, Florida Statute § 286.311(2)

  (2023) and 456.001(9)(a) and Florida Administrative Code rule 59G-



        1
          Amici States submit this amicus brief pursuant to Federal Rule of
  Appellate Procedure 29(a) in support of Plaintiffs-Appellees August Dekker,
  Brit Rothstein, Susan Doe, and K.F and affirmance of the judgment.
                                        1
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  1.050(7), categorically banned Medicaid coverage for medically necessary

  treatment of gender dysphoria, including through prescription of puberty

  blockers and hormone therapy. Based on a robust factual record developed

  over the course of a seven day bench trial, the lower court properly

  concluded that “denial of this treatment will cause needless suffering for a

  substantial number of patients and will increase anxiety, depression, and the

  risk of suicide,” Dekker v. Weida, No. 4:22-cv-325-RH-MAF, 2023 WL

  4102243, at *8, *14 (N.D. Fla. June 21, 2023), and held that barring

  coverage of gender-affirming treatment is impermissible gender-based

  discrimination. Transgender people deserve, and are guaranteed, the equal

  protection of the law, as are all other persons under the Constitution. This

  Court should affirm the judgment.

                                  ARGUMENT
       Pervasive discrimination against transgender people within the

  healthcare system nationwide is well-documented, as are the tangible

  economic, emotional, and physical consequences suffered by transgender

  individuals as a result. Discrimination, exclusion, and denial of care on the

  basis of transgender status can lead to increased risk of depression, anxiety,

  substance abuse, and suicide. To support the health and dignity of

  transgender people and prevent these injuries, amici States have adopted

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  laws and policies, including through their Medicaid programs, to ensure

  access to gender-affirming healthcare. Contrary to Defendants’ claims that

  they are protecting their citizens by excluding gender-affirming care from

  Florida’s Medicaid program, amici States’ inclusive laws and policies

  demonstrate that protecting access to this care results in better health

  outcomes for our transgender residents.

  I.   AMICI STATES HAVE LONGSTANDING ANTI-DISCRIMINATION
       LAWS GUARANTEEING ACCESS TO GENDER-AFFIRMING CARE
       UNDER THEIR MEDICAID PROGRAMS AND PRIVATE INSURANCE
        Many transgender patients “continue to experience discrimination in

  the health care context.” 2 This discrimination “create[s] barriers to accessing

  timely, culturally competent, medically appropriate, and respectful care.”3

  Indeed, the U.S. Health and Human Services Agency has recognized that


        2
           Nondiscrimination in Health Programs and Activities, 81 Fed. Reg.
  31,375, 31,444, 31,460–61 (May 18, 2016) (citing studies showing that
  26.7% of transgender people reported having been refused needed health
  care and 25% reported having been subject to harassment in medical
  settings, which can lead those individuals to postpone or avoid needed
  healthcare).
         3
           Daphna Stroumsa, The State of Transgender Health Care: Policy,
  Law, and Medical Frameworks, 104 Am. J. Pub. Health e31 (2014),
  https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3953767/; see also Nat’l
  Women’s Law Ctr., Health Care Refusals Harm Patients: The Threat to
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  https://nwlc.org/wp-content/uploads/2015/08/lgbt_refusals_factsheet_05-09-
  14.pdf.

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  difficulties in “the process of obtaining health insurance coverage” often

  lead transgender patients to postpone or avoid obtaining medical care, thus

  “exacerbat[ing] health disparities experienced by the LGBT population.”4

        Comprehensive and equitable Medicaid coverage is crucial for

  transgender people, who are more likely to live in poverty due to well-

  documented systematic and widespread discrimination.5 Many transgender

  people rely on Medicaid for health coverage. 6 A 2022 report estimated that a

  little over 20% of transgender adults in the United States are on Medicaid.7

  Accordingly, amici States ensure Medicaid coverage for their transgender

  residents.8 As of July 1, 2021, twenty-nine states and D.C. expressly include


        4
           81 Fed. Reg. 31,375 at 31,460.
        5
           Ivette Gomez et al., Update on Medicaid Coverage of Gender-
  Affirming Health Services, Kaiser Family Foundation (Oct. 11, 2022)
  https://www.kff.org/womens-health-policy/issue-brief/update-on-medicaid-
  coverage-of-gender-affirming-health-services/; see also Jennifer Kates, et
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         6
           Gomez, supra n. 5.
         7
           Christy Mallory & Will Tentindo, Medicaid Coverage for Gender-
  Affirming Care (December 2022), at 1
  https://williamsinstitute.law.ucla.edu/publications/medicaid-trans-health-
  care/.
         8
           Id. at 20–23 (describing state-level Medicaid policies providing
  affirmative coverage for gender-affirming care in Alaska, California,
  Colorado, Connecticut, Delaware, D.C., Georgia, Illinois, Iowa, Maine,

                                        4
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  at least some coverage for gender-affirming care under their Medicaid

  programs, either by statute or administrative policy, or are in the process of

  extending coverage. 9 And amici States continue to broaden coverage under

  their Medicaid programs. For example, beginning on January 1, 2024, the

  Maryland Trans Equity Act will expand the number of gender-affirming


  Maryland, Massachusetts, Michigan, Minnesota, Montana, Nevada, New
  Hampshire, New Jersey, New York, North Dakota, Oregon, Pennsylvania,
  Rhode Island, Vermont, Washington, and Wisconsin). Notably, Defendant
  Florida approved Medicaid coverage for gender-affirming healthcare in
  2016, finding that “the risks of not treating” a transgender adolescent with
  puberty blockers “may be worse than” treatment risks. Dekker v. Weida,
  2023 WL 4102243, at *3.
         9
           Gomez, supra note 5 (listing state Medicaid programs covering
  gender-affirming health services at Table 1); see also, e.g., Cal. Dep’t of
  Health Care Serv., All Plan Letter 13-011 (Sept. 25, 2013) at 1
  https://www.dhcs.ca.gov/formsandpubs/Documents/MMCDAPLsandPolicy
  Letters/APL2013/APL13-011.pdf (stating transgender services have been
  available to Medi-Cal beneficiaries since 2001); N.J. Stat. Ann. § 30:4D-9.1
  (2017) (requiring Medicaid contract providers to cover gender affirming
  care); N.Y. Comp. Codes R. & Regs. tit. 18 § 505.2(l)(1)–(4) (covering
  medically necessary hormone therapy and gender affirming surgery under
  Medicaid); Vt. Dep’t of Health Access, Gender Affirmation Surgery for the
  Treatment of Gender Dysphoria (2022) at 2
  https://dvha.vermont.gov/sites/dvha/files/documents/providers/Forms/gender
  %20affirmation%20surgery%20for%20web.pdf (covering gender affirming
  surgery if certain criteria are met under Medicaid); Wash. Admin. Code §
  182-531-1675 (2015) https://apps.leg.wa.gov/wac/default.aspx?cite=182-
  531-
  1675#:~:text=(a)%20Prior%20authorization%20requirements%20for,(3)%2
  0of%20this%20section (listing surgical and hormone therapy, puberty
  suppression therapy, behavioral therapy, and surgical and ancillary services
  as available under Apple Health’s “gender dysphoria treatment” program).

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  treatments covered under the State’s Medicaid plan to include the ability for

  individuals to alter their hair, face, neck, and voice to better align their

  physical body with their gender identity. 10

        Outside of the Medicaid context, many of amici States’ laws,

  regulations, and healthcare bulletins likewise prohibit insurers from

  discrimination against transgender people in the provision of healthcare. 11 In


        10
            Dana Ferguson et al., Minnesota to Join at Least 4 Other States in
  Protecting Transgender Care This Year, NPR, April 21, 2023,
  https://www.npr.org/2023/04/21/1171069066/states-protect-transgender-
  affirming-care-minnesota-colorado-maryland-illinois.
         11
            See, e.g., Connecticut: Conn. Gen. Stat. § 46a-71(a) (state agency
  services) https://www.cga.ct.gov/current/pub/chap_814c.htm#sec_46a-71;
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  https://www.capitol.hawaii.gov/hrscurrent/vol09_ch0431-
  0435h/hrs0431/HRS_0431-0010A-0118_0003.htm (accident and health or
  sickness insurance); Haw. Rev. Stat. § 432:1-607.3 (2022)
  https://www.capitol.hawaii.gov/sessions/session2022/bills/HB2405_HD1_.
  HTM (hospital and medical service policies); Haw. Rev. Stat. § 432D-26.3
  (2016) https://www.capitol.hawaii.gov/hrscurrent/Vol09_Ch0431-
  0435H/HRS0432D/HRS_0432D-0026_0003.htm (health maintenance
  organization policies); Illinois: Ill. Admin. Code, tit. 50, § 2603.35 (2015)
  https://casetext.com/regulation/illinois-administrative-code/title-50-
  insurance/part-2603-unfair-discrimination-based-on-sex-sexual-orientation-
  gender-identity-or-marital-status/section-260335-prohibited-gender-identity-
  discrimination#:~:text=Section%202603.35%20%2D%20Prohibited%20Ge
  nder%20Identity%20Discrimination%20a)%20A%20company%20that,pros
  pective%20insured's%20actual%20or%20perceived (health insurance
  plans); Ill. Dep’t of Human Rights, Ill. Dep’t of Healthcare and Family

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  Servs., and the Ill. Dep’t of Ins., Guidance Relating to Nondiscrimination in
  Healthcare Services in Illinois (June 26, 2020)
  https://idoi.illinois.gov/content/dam/soi/en/web/insurance/consumers/docum
  ents/english-web-idhr-joint-nondiscrimination-guidance.pdf; Ill. Dep’t of
  Ins., Company Bulletin 2020-16, Health Insurance Coverage for
  Transgender, Nonbinary, and Gender Nonconforming Individuals, and for
  Individuals of All Sexual Orientations (June 15, 2020)
  https://insurance2.illinois.gov/cb/2020/CB2020-16.pdf; Massachusetts:
  Mass. Div. of Ins., Office of Consumer Affairs & Bus. Regulation, Bulletin
  2014-03, Guidance Regarding Prohibited Discrimination on the Basis of
  Gender Identity (June 20, 2014), at 1 https://www.mass.gov/doc/bulletin-
  2014-03-guidance-regarding-prohibited-discrimination-on-the-basis-of-
  gender-identity/download (prohibiting private insurers from denying
  coverage); New Jersey: N.J. Stat. Ann. § 26:2J-4.40 (2022)
  https://law.justia.com/codes/new-jersey/2022/title-26/section-26-2j-4-40/
  (health maintenance organizations); N.J. Stat. Ann. § 17B:26-2.1ii (2022)
  https://law.justia.com/codes/new-jersey/2022/title-17b/section-17b-26-2-1ii/
  (individual health insurance policies); N.J. Stat. Ann. § 17B:27-46.1oo
  (2022) https://law.justia.com/codes/new-jersey/2022/title-17b/section-17b-
  27-46-1oo/ (group health insurance policies); N.J. Stat. Ann. § 52:14-17.29x
  (2021) https://law.justia.com/codes/new-jersey/2021/title-52/section-52-14-
  17-29x/ (State Health Benefits Commission contracts); News Release, New
  Jersey Department of Banking and Insurance Issues Guidance to Insurance
  Carriers to Ensure Nondiscriminatory Health Coverage to Transgender
  Individuals (Jun. 28, 2023),
  https://www.nj.gov/dobi/pressreleases/pr230628.html; New York: N.Y.
  Dep’t of Fin. Servs., Ins. Circular Letter No. 7 (2014) (eliminating
  exclusions),
  https://www.dfs.ny.gov/industry_guidance/circular_letters/cl2014_07;
  Pennsylvania: Pa. Ins. Dep’t., Notice Regarding Nondiscrimination, Notice
  2016-05, 46 Pa.B. 2251 (2016),
  https://www.pacodeandbulletin.gov/Display/pabull?file=/secure/pabulletin/d
  ata/vol46/46-18/762.html (prohibiting discrimination and requiring
  coverage); Pa. Dep’t. of Human Servs., CHIP Transmittal 2016-5 (2016),
  https://transequality.org/sites/default/files/PA-CHIP-Transmittal.pdf
  (eliminating exclusions and requiring coverage); Vermont: Vt. Dep’t of Fin.
  Reg., Ins. Bulletin No. 174, Guidance Regarding Prohibited Discrimination

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  California, for instance, longstanding laws and regulations ensure that

  transgender patients are not denied coverage for care that is ordinarily

  available to cisgender patients.12 Last year, California passed Senate Bill

  107, defining itself as a “refuge” state for transgender youth and their

  families.13 This year, Colorado, Illinois, Maryland, and New York have

  passed bills designed to protect transgender healthcare. In January, Colorado

  became the first state to explicitly designate gender-affirming care as an

  essential health benefit in its benchmark health insurance plan. 14 The Illinois

  legislature passed a law that protects providers and patients from litigation or



  on the Basis of Gender Identity including Medically Necessary Gender
  Dysphoria Surgery and Related Health Care (2013) at 1,
  https://dfr.vermont.gov/sites/finreg/files/regbul/dfr-bulletin-insurance-174-
  gender-dysphoria-surgery.pdf (eliminating exclusions); Washington: Letter
  from Mike Kreidler, Office of the Ins. Comm’r of Wash. State to Health Ins.
  Carriers in Wash. State (June 25, 2014),
  https://www.insurance.wa.gov/sites/default/files/documents/gender-identity-
  discrimination-letter.pdf.Other states around the nation have similar
  protections. See, e.g.,
        12
             Cal. Code Regs. tit. 10 § 2561.2, subd. (a) (2012).
        13
             See Ferguson, supra note 10.
        14
           See Colo. Dep’t of Reg. Agencies, Div. of Ins., Gender-Affirming
  Care Coverage Guide (2023), https://doi.colorado.gov/for-
  consumers/consumer-resources/special-insurance-topics/lgbtq-health-care-
  rights/gender-
  affirming#:~:text=In%202023%2C%20Colorado%20became%20the,essenti
  al%20health%20benefits%20.

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  disciplinary action if they provide or obtain gender-affirming care that is

  lawful in Illinois, even if that care is not legal in another state. 15 The

  Maryland Governor signed a similar executive order that protects

  transgender residents of other states who seek gender-affirming treatment in

  Maryland.16 New York also enacted the Trans Safe Haven bill in June 2023,

  which, among other things, protects parents and guardians who come to New

  York to receive gender-affirming care for a child, as well as healthcare

  practitioners who provide gender-affirming care in New York. 17

  Additionally, in April 2023, the Minnesota legislature passed a law that

  prevents state courts or officials from complying with child removal

  requests, extraditions, arrests, or subpoenas relating to gender-affirming care

  that an individual receives or provides in Minnesota.18 This law furthers the

  protections provided by the Minnesota Department of Commerce’s 2015




         15
            Ill. Comp. Stat. Ann. 35/3.5 (2023).
         16
            State of Maryland, Executive Order 01.01.2023.08,
  https://governor.maryland.gov/Lists/ExecutiveOrders/Attachments/11/EO_0
  1.01.2023.08_accessible.pdf.
         17
            N.Y. Fam. Ct. Act § 659; N.Y. Crim. Proc. § 570.19.
         18
            Minn. Stat. Ann. § 543.23 (2023).

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  bulletin, which established that health care plans may not exclude medically

  necessary coverage for treatment of gender dysphoria. 19

        The World Professional Association for Transgender Health

  (WPATH), the Endocrine Society, and other recognized and reputable

  professional associations have endorsed evidence-based standards of care for

  transgender people. 20 Many of amici States’ laws and policies protecting

  insurance coverage for gender-affirming care are based upon these

  prevailing professional standards of medical care.21 For example, the


        19
            Minn. Dep’t of Commerce, Admin. Bulletin 2015-5, Gender
  Identity Nondiscrimination Requirements (2015)
  http://transgenderlawcenter.org/wp-content/uploads/2016/05/2015-11-24-
  Minnesota-bulletin-insurance-2015-5.pdf (superseded by Minn. Dep’t of
  Commerce, Admin. Bulletin 2021-3, https://mn.gov/commerce-
  stat/pdfs/bulletin-2021-3.pdf.)
        20
            See E. Coleman et al., Standards of Care for the Health of
  Transgender and Gender Diverse People, Version 8, 23 Int’l J. Transgender
  Health S1 (2022), https://doi.org/10.1080/26895269.2022.2100644; see also
  Wylie C. Hembree et al., Endocrine Treatment of Gender-Dysphoric/Gender
  Incongruent-Persons: An Endocrine Society Clinical Practice Guideline,
  102 J. Clinical Endocrinology & Metabolism 3869 (2017),
  https://doi.org/10.1210/jc.2017-01658.
         21
            See, e.g., Colorado: Colo. Code Regs. § 702-4-2-62-5 (prohibiting
  “[d]en[ial], exclu[sion], or otherwise limit[ing] coverage for medically
  necessary services, in accordance with generally accepted professional
  standards of care, based upon a person’s . . . gender identity”); Connecticut:
  Conn. Comm’n On Human Rights And Opportunities, Declaratory Ruling
  on Petition Regarding Health Insurers’ Categorization of Certain Gender-
  Confirming Procedures as Cosmetic 9 (2020), https://www.chlpi.org/wp-

                                       10
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  content/uploads/2013/12/Dec-Rule_04152020.pdf (insurers shall “ pay
  ‘covered expenses’ for treatment provided to individuals with gender
  dysphoria where the treatment is deemed necessary under generally accepted
  medical standards”); District of Columbia: Chester A. McPherson, D.C.
  Dep’t of Ins., Bulletin 13-IB-01-30/15, Prohibition of Discrimination in
  Health Insurance Based on Gender Identity and Expression 3–4 (2014),
  https://disb.dc.gov/sites/default/files/dc/sites/disb/publication/attachments/B
  ulletin-
  ProhibitionDiscriminationBasedonGenderIdentityorExpressionv022714.pdf
  (medical necessity determination requires referring to “recognized
  professional standard of medical care for transgender individuals” and citing
  WPATH standards); Maine: Press Release, EqualityMaine, Maine
  Transgender Network, GLAD and Maine Women’s Lobby Announce Health
  Coverage for Transgender Individuals Under MaineCare, LGBTQ Legal
  Advocates & Defs. (Oct. 3, 2019), https://www.glad.org/post/equalitymaine-
  maine-transgender-network-glad-and-maine-womens-lobby-announce-
  health-coverage-for-transgender-individuals-under-mainecare/ (criteria for
  determining medical necessity “will be based on consensus professional
  medical standards” and citing to WPATH standards); Pennsylvania: Pa.
  Dep’t. of Human Servs., CHIP Transmittal 2016-5 2 (2016) (“In determining
  medical necessity for gender transition services, the Department and CHIP
  Contractors will utilize [WPATH] Standard of Care as guidelines.”); Rhode
  Island: R.I. Health Ins. Comm’r, Health Ins. Bulletin 2015-3, Guidance
  Regarding Prohibited Discrimination on the Basis of Gender Identity or
  Expression 1 (2015),
  https://ohic.ri.gov/sites/g/files/xkgbur736/files/bulletins/Bulletin-2015-3-
  Guidance-Regarding-Prohibited-Discrimination.pdf (“[A] growing body of
  scientific and clinical evidence regarding the potential harm to consumers
  arising from the denial or exclusion of services on the basis of gender
  identity” prompted reexamination of exclusions); Washington: Wash. Rev.
  Code § 48.43.0128(3)(a) (for health plans issued on or after January 1, 2022,
  Washington forbids insurers from “deny[ing] or limit[ing] coverage for
  gender-affirming treatment” when it is medically necessary and “prescribed
  in accordance with accepted standards of care”).


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  Minnesota Department of Commerce, which governs health insurers, has

  recommended that insurers use WPATH medical standards, and may not

  substitute their own, more restrictive standards for providing coverage for

  gender-affirming healthcare.22 Massachusetts also recommends insurance

  carriers “consult the most up-to-date medical standards set forth by

  nationally recognized medical experts in the transgender health field,

  including but not limited to those issued by the [WPATH].” 23

        Taken together, these protections reflect our core commitment to

  protecting the equality of all people, regardless of their gender identity, and




        22
           Minn. Dep’t of Commerce, Admin. Bulletin 2021-3,
  https://mn.gov/commerce-stat/pdfs/bulletin-2021-3.pdf (superseding Admin.
  Bulletin 2015-5); see also Letter from Lisa K. Maguire, Esq., State Appeals,
  to Blue Cross Blue Shield Member (Aug. 11, 2014),
  https://www.outfront.org/sites/default/files/Dept%20of%20Commerce%20e
  xternal%20review.pdf (determining that denial of coverage for gender-
  affirming surgery should be overturned as inconsistent with WPATH
  standards).
        23
           Gary D. Anderson, Mass. Comm’r of Ins., Bulletin 2021-11,
  Continuing Applicability of Guidance Regarding Prohibited Discrimination
  on the Basis of Gender Identity or Gender Dysphoria Including Medically
  Necessary Gender Affirming Care and Related Services at 2 (2021),
  https://www.mass.gov/doc/bulletin-2021-11-prohibited-discrimination-on-
  the-basis-of-gender-identity-or-gender-dysphoria-including-medically-
  necessary-gender-affirming-care-and-related-services-issued-september-9-
  2021/download.

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  ensuring people with gender dysphoria are not denied access to necessary—

  and often lifesaving—care.

  II.   ENSURING ACCESS TO GENDER-AFFIRMING CARE HAS
        IMPROVED HEALTH OUTCOMES FOR TRANSGENDER PEOPLE
        Amici States’ policies not only provide transgender residents with

  access to the prevailing professional standard of healthcare, they have

  directly improved health outcomes for our residents—at minimal cost to the

  public fisc. An economic impact analysis of AB 1586, a California law that

  prohibits plans and insurers from denying an individual coverage based on

  transgender status, found that the law benefitted transgender people by

  improving healthcare outcomes and reducing suicide risk, lowering rates of

  substance misuse, and increasing adherence to HIV treatment.24 The same

  analysis also found that “the strongest predictor associated with the risk of

  suicide was gender based discrimination,” which included “problems getting

  health or medical services due to their gender identity or presentation.”25

  Indeed, the analysis concluded that “[t]hese studies provide overwhelming


         24
            Ali Zaker-Shahrak et al., Cal. Dep’t of Ins., Economic Impact
  Assessment: Gender Nondiscrimination in Health Insurance 10–12 (2012),
  https://transgenderlawcenter.org/wp-content/uploads/2013/04/Economic-
  Impact-Assessment-Gender-Nondiscrimination-In-Health-Insurance.pdf.
         25
              Id. at 10 (citing Clements-Nolle, et al. study).


                                            13
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  evidence that removing discriminatory barriers to treatment results in

  significantly lower suicide rates” and that requiring coverage “will not only

  save insurers from the costs associated with suicide, but prevent significant

  numbers of transgender insureds from losing their lives.”26 Similarly, in

  2013, the Commonwealth of Massachusetts Group Insurance Commission

  found that the benefits of gender-affirming medical treatment outweighed

  the costs, noting that “these additional expenses hold good value for

  reducing the risk of negative endpoints—HIV, depression, suicidality, and

  drug abuse.”27

        Providing access to medical care is crucial for all ages, but it is

  especially important for youth. Undergoing puberty that does not align with

  one’s gender identity and developing permanent undesired secondary sex

  characteristics is “often a source of significant distress” for transgender

  adolescents.28 A 2020 study found that adolescents who begin gender-



        26
             Id. at 10-11
        27
          William V. Padula et al., Societal Implications of Health Insurance
  Coverage for Medically Necessary Services in the U.S. Transgender
  Population: A Cost-Effectiveness Analysis, 31(4) J. Gen. Intern. Med. 394,
  394 (2016), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4803686.
        28
          Ximena Lopez et al., Statement on Gender-Affirmative Approach to
  Care from the Pediatric Endocrine Society Special Interest Group on

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  affirming treatment at later stages of puberty were over five times more

  likely to report depression and over four times more likely to have anxiety

  disorders than adolescents who seek treatment in early puberty. 29

  Conversely, studies have overwhelmingly shown that transgender minors’

  mental health drastically improves when they have access to gender-

  affirming healthcare. A longitudinal study that followed transgender

  adolescents from their intake at a gender clinic into young adulthood found

  that gender-affirming treatment resulted in significant improvement in

  global functioning and psychological wellbeing and the participants’ life

  satisfaction, quality of life, and subjective happiness were comparable to

  their cisgender peers. 30 A 2021 analysis found that, for teens under the age


  Transgender Health, 29 Current Op. Pediatrics no.4 at 475, 480 (2017),
  https://pubmed.ncbi.nlm.nih.gov/28562420.
        29
           Julia C. Sorbara et al., Mental Health and Timing of Gender-
  Affirming Care, 146 Pediatrics no. 4 1, 5-6 (2020),
  https://publications.aap.org/pediatrics/article/146/4/e20193600/79683/Menta
  l-Health-and-Timing-of-Gender-Affirming-Care.
        30
            Annelou L.C. de Vries et al., Young Adult Psychological Outcome
  After Puberty Suppression and Gender Reassignment, 134 Pediatrics 696
  (2014), https://doi.org/10.1542/peds.2013-2958; accord Marijn Arnoldussen
  et al., Self-Perception of Transgender Adolescents After Gender-Affirming
  Treatment: A Follow-Up Study Into Young Adulthood, 9 LGBT Health 238
  (2022), https://www.liebertpub.com/doi/epdf/10.1089/lgbt.2020.0494
  (finding significant improvement in teens’ self-worth after starting hormone
  replacement therapy).


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  of eighteen, the use of gender-affirming hormone therapy was associated

  with lower odds of recent depression and lower rates of suicide attempts

  compared to those who wanted, but did not receive, such therapy. 31 Another

  2020 study reflected that transgender adolescents who receive gender-

  affirming care have fewer emotional and behavioral problems than

  transgender adolescents who have not received treatment. 32

        In light of the proven benefits minors experience when they have

  access to medically necessary healthcare, some amici States have issued

  explicit guidance prohibiting insurers from denying minors treatment for

  gender dysphoria solely based on age. For instance, Oregon has codified its

  prohibition on insurance plans denying benefits on the basis of gender

  identity and, in 2015, Oregon approved puberty suppression coverage under


        31
            Amy E. Green et al., Association of Gender-Affirming Hormone
  Therapy With Depression, Thoughts of Suicide, and Attempted Suicide
  Among Transgender and Nonbinary Youth, 70 J. of Adolescent Health 643
  (2021), https://www.jahonline.org/article/S1054-139X(21)00568-1/fulltext;
  see also Jack L. Turban et al, Access To Gender-Affirming Hormones
  During Adolescence and Mental Health Outcomes Among Transgender
  Adults 17(1) PLOS One 1, 8 (2022),
  https://journals.plos.org/plosone/article?id=10.1371/journal.pone.0261039.
        32
          Anna I. R. van der Miesen et al., Psychological Functioning in
  Transgender Adolescents Before and After Gender-Affirmative Care
  Compared with Cisgender General Population Peers, 66 J. Adolescent
  Health 699, 703 (2020).


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  its Medicaid program for beneficiaries who are 15 or older.33 Washington’s

  Medicaid program explicitly covers puberty suppression therapy and

  hormone therapy for those under age twenty. Wash. Admin. Code §§ 182-

  531-1675(b)(i)–(ii), (f). Similarly, New York’s Medicaid regulations require

  coverage for medically necessary puberty suppression for patients who meet

  eligibility criteria and medically necessary hormone therapy for individuals

  who are sixteen years of age and older. N.Y. Comp. Codes R. & Regs. tit. 18

  § 505.2(l)(2)(i). Several studies conducted by amici States have confirmed

  that such policies could result in significant benefits to the health of our

  teenage residents. 34

        In sum, amici States’ overwhelming experience shows that removing

  discriminatory barriers to care improves healthcare outcomes for transgender

  people and promotes public health.


        33
           See Or. Rev. Stat. § 746.021; Or. Health Auth., Prioritized List:
  Guideline for Gender Dysphoria 1 (2019),
  https://www.oregon.gov/oha/HPA/DSI-HERC/FactSheets/Gender-
  dysphoria.pdf.
        34
           Zaker-Shahrak, supra note 24, at 10–11 (citing Haas study to show
  that suicide risk is especially high among transgender minors and concluding
  that there is “overwhelming evidence that removing discriminatory barriers
  to treatment results in significantly lower suicide rates”); Padula, supra note
  27 at 400 (acknowledging findings that “young adults experience alleviation
  of gender dysphoria and improvement in psychological functioning
  following gender reassignment”).

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                              CONCLUSION
      The court should affirm the judgment.

  December 4, 2023              Respectfully submitted,

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      According to the word processing system used to prepare this brief, Microsoft

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                                                      /s/
                                                         Kathleen Boergers



                     CORPORATE DISCLOSURE STATEMENT

     As governmental parties, amici are not required to file a certificate of interested

persons. Fed. R. App. P. 26.1(a).



                           CERTIFICATE OF SERVICE

      I hereby certify that, on December 4, 2023, this brief was filed through the

Court’s CM/ECF system, which will send a notice of electronic filing to all counsel

of record.

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